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                Honorable Kimba M. Wood
                United States District Judge
                Southern District of New York
                                                                                                   MEMO ENDORSED
                500 Pearl Street
                New York, NY 10007


                              Re:   United States v. Lorenzo Almanzar
                                    19 Cr. 919 (KMW)

               Dear Judge Wood:


                      I write with the consent of the government to respectfully request an adjournment of
               approximately 60 days of the scheduled sentence date of November 17, 2020.

                       This request is made to permit Mr. Almanzar, who is not in custody, to appear in person
              for his sentence proceeding.

                          Thank you for your attention to this matter.
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        .)   cc:      ~ USA Jarrod Schaeffer
                      USPO Paul Hay


                                                                                 SO ORDERED:
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                                                                         •                KIMBA M. WOOD           - - --
                                                                                              U.S.0.J.
